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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 KENNETH STAFFORD,
                                                            Civil Action No. 17-749-MJH
                            Plaintiff,

                v.
                                                            JUDGE MARILYN HORAN
 MERCER COUNTY, ET AL.,

                            Defendants.



      DEFENDANTS REPLY BRIEF TO THE PLAINTIFF’S RESPONSE TO THE

                         SUMMARY JUDGMENT MOTION (ecf 57)



       And now comes the Defendants, by and through undersigned counsel, who files the

within Reply Brief in Support of their Motion for Summary Judgment, and in support thereof set

forth as follows:

       Defendants had filed for summary judgment making 4 arguments. First, they argued that

there was probable cause for the charges that were filed. Second, they argued that they did not

act maliciously or with a purpose apart from bringing Plaintiff to justice. Third, they argued that

the decision to further pursue the prosecution was made by the District Attorney, not the

Troopers. Fourth, and finally, that they are entitled to qualified immunity. As a footnote to their

arguments, Defendants pointed out that only Trooper Morris prepared and presented the criminal

complaint, so all of the other Defendants should be entitled to Summary Judgment.



       Plaintiff has responded, arguing, first, that summary judgment for Defendant Morris is

inappropriate, as Morris had recklessly made misleading statements and omitted critical facts in
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the affidavit of probable cause. Second, Plaintiff argues that a “reconstructed affidavit, correcting

errors made by Morris and including multiple other items of information from reports that had

not been in the affidavit would essentially lead to a determination that there was not probable

cause. Third, Plaintiff argued that Morris did act maliciously, and finally Plaintiff argues against

qualified immunity. Plaintiff concedes claims against Defendants Daniel Harris, Joseph Yuran,

Ron Fagley and Dan Sindlinger should be “withdrawn”1 Further, Plaintiff makes no response to

the argument that the District Attorney, not the Troopers, was responsible for the further

prosecution. To that end, any damages claimed after the matter was held for Court should not be

recoverable against these Defendants.



             ERRORS/OMMISSIONS IN THE AFFIDAVIT OF PROBABLE CAUSE

        Plaintiff has pointed out a number of errors where the facts presented in the affidavit of

probable cause do not match some of the facts as listed in individual police reports. Those facts

generally surround some of the described physical characteristics of the suspect and the color of

the pickup truck. While it is conceded that the affidavit does have some minor differences from

the descriptions provided in the reports, those are insignificant. They are particularly

insignificant when viewed against the backdrop of all of the similarities noted by all off the

victims, the district attorneys decision to pursue prosecution well after obtaining all information,

and the positive identification of one of the child victims. As argued in their opening brief,

Defendants point to the continued prosecution of the case, despite all of these inconsistencies




1
 These Defendants were required to obtain counsel, respond to written discovery, sit for deposition and file for
summary judgment. Only after all of those steps were taken did the Plaintiff concede the lack of a claim against any
one of them. They request judgment in their favor and against the plaintiff.
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noted by Plaintiff and the Court of Common Pleas of Mercer County sending the case to an

empaneled jury as support of the existence of probable cause.

       A close look at the information available to Morris at the time shows his pursuit of

charges against Plaintiff was appropriate. Importantly victim Three, provided his initial

description;

“the suspect was an “older” thin man, probably in his late 50’s and was wearing a brown ball

cap. Suspect had salt & pepper hair and had a beard. The length of the beard was described as

approximately 3 to 5 inches in length around the chin, but much shorter in length on the sides

and closer to the ears. Victim indicated that the beard sort of came to a point in front, rather than

a full beard around the face. The suspect wore eye glasses.

The vehicle could only be described as a full size white pickup truck without a cap. No further

details could be determined.” (Trooper Yuran report, Ex B to Plaintiffs response)

       The report of victim Three’s response to the presentation of the photo array is as follows:

“I met with Jeremy Robert and his son, XXX at their residence. Robert provided me with verbal
consent to show XXX the photographic lineup. I sat with XXX at the kitchen table inside the
residence. I explained to XXX that I had some pictures that I would like him to lack at regarding
this investigation. XXX indicated that he understood this. I presented the lineup to XXX and
instructed him to take his time. After carefully reviewing the photographs for approximately 15
seconds, the juvenile immediately pointed to K. STAFFORD’S picture and said “that’s him” I
asked him how he knew this person in the photograph. He stated “that’s the guy in the truck that
I told the police about” I told the juvenile if he was one hundred percent positive to circle the
picture. He did and signed his name below it.”(Morris report, Ex E to Plaintiffs response, page
7)

       Morris’ reliance on this identification was clearly appropriate, particularly given the other

corroborating evidence. (“It is surely reasonable for a police officer to base his belief in

probable cause on a victim's reliable identification of his attacker.”); Grimm v. Churchill, 932

F.2d 674, 675 (7th Cir.1991) (“When an officer has received his information from some

person—normally the putative victim or an eye witness—who it seems reasonable to believe is
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telling the truth, he has probable cause.” (Internal quotations omitted)).Sharrar v. Felsing, 128

F.3d 810, 818–19 (3d Cir. 1997)




         Any reconstructed affidavit would also include this identification, as well as the Third

victims’ earlier report. It would also the fact that Trooper Morris was able to obtain a google

earth photo indicating that there was a white pickup truck at the Stafford residence. It would

also include the information of Stafford leaving town under unusual circumstances around the

time the child luring reports were broadcast. It would also include the geographical closeness

between the Stafford residence and the luring incidents. Setting aside any portions of the

affidavit that plaintiff takes issue with, this information alone is more than sufficient to support a

probable cause determination, at least as to charges relating to Victim Three. Importantly, for

purposes of a summary judgment motion, if the Court determines that there was probable cause

only for the offenses against Victim Three, then the charges and arrest that followed are based on

the existence of probable cause. Probable cause need only exist as to any offense that could be

charged under the circumstances. Barna v. City of Perth Amboy, 42 F.3d 809, 819 (3d Cir. 1994)

citing Edwards v. City of Philadelphia, 860 F.2d at 575–76.

         Even accepting the issues raised by the Plaintiff,2 there is no reasonable argument that the

charges as related to Victim 3 were not based upon probable cause.



                             WHETHER MORRIS ACTED WITH MALICE



2
  Plaintiff, following the Third Circuit directive in Dempsey v Bucknell, 834 F.3d 457 (3d Cir. 2016), has recreated a
three page affidavit with all of the information he would assert as exculpatory. Such a recreation cannot ignore the
positive identification of Victim Three, and includes far more information than customarily required. Information
that there are some discrepancy in physical appearances is more inconsistent than exculpatory. An officer need only
include facts he reasonably believes a magistrate would want to review.
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       Plaintiff argues that malice, on the part of Morris may be inferred, based on a lack of

probable cause. As previously asserted, Morris had probable cause, at least to the child luring

charge for which he had a positive identification, with nor reason to doubt its veracity.

Notwithstanding, Plaintiff argues that Morris acted with a reckless disregard for the truth, and

thus with malice. Plaintiff has suggested no motive for Morris to act in such a fashion. Plaintiff

cited cases, including Collins v Jones, 2:13-CV-07613-DS, 2015 WL790055, (E.D. Pa. Feb 24,

2015) for the assertion that malice may be inferred. However, a review of Collins reveals a

scenario where police knowingly pursued baseless charges as a means of applying leverage to

aid other investigations. Morris took no such steps. Morris had all of the information previously

reviewed to support his reasonable belief in the pursuit of the charges. Making mistakes as to

some of the descriptive terms does not mean that he was reckless, as must be established to infer

malice. An assertion is made with reckless disregard when “viewing all the evidence, the affiant

must have entertained serious doubts as to the truth of his statements or had obvious reasons to

doubt the accuracy of the information he reported.” Wilson v. Russo, 212 F.3d 781, 788 (3d Cir.

2000) citing U.S. v. Clapp, 46 F.3d 795, 801 n. 6 (8th Cir. 1995.) Under the totality of the

circumstances, it is obvious that there was no malice on the part of Morris.



                                    QUALIFIED IMMUNITY

       Plaintiff asserts that Morris is not entitled to qualified immunity. Certainly it is conceded

that an officer would have been on notice in 2014 that it is a violation of an individual’s rights to

pursue charges against him without probable cause. The inquiry, however must be more pointed,

geared to the specific actions taken by the officer. Defendants reassert their argument from their
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opening brief, that there was no clearly defined case putting Morris on notice that his actions, in

pursuing an arrest, based at least in part on a positive victim identification, was violative of

rights, even assuming mistakes/omissions in other aspects of the affidavit.




       WHEREFORE Defendants request summary judgment on all of Plaintiffs’ claims.




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